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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                   Chapter 11

Zohar III, Corp., et al.,1                               Bankruptcy Case No. 18-10512 (KBO)

                                  Debtors.               Jointly Administered

                                                         Related Docket No. 3258


LYNN TILTON; PATRIARCH PARTNERS
VIII, LLC; PATRIARCH PARTNERS XIV,
LLC; PATRIARCH PARTNERS XV, LLC;
OCTALUNA, LLC; OCTALUNA II, LLC;                         Adversary Proc. No. 19-50390 (KBO)
AND OCTALUNA III, LLC,

                         Plaintiffs-Appellants,
                                                         Related Docket No. 237
                  v.

MBIA INC., MBIA INSURANCE
CORPORATION, U.S. BANK, N.A.,
ALVAREZ & MARSAL ZOHAR
MANAGEMENT, CREDIT VALUE                                 Case No. 1:22-cv-00400 (TLA)
PARTNERS, LP, BARDIN HILL
INVESTMENT PARTNERS F/K/A
HALCYON CAPITAL MANAGEMENT LP,
COÖPERATIEVE RABOBANK U.A.,
VÄRDE PARTNERS, INC., ASCENSION
ALPHA FUND LLC, ASCENSION HEALTH
MASTER PENSION TRUST, CAZ
HALCYON OFFSHORE STRATEGIC
OPPORTUNITIES FUND, L.P., CAZ
HALCYON STRATEGIC OPPORTUNITIES
FUND, L.P., BROWN UNIVERSITY, HCN
LP, HALCYON EVERSOURCE CREDIT
LLC, HLF LP, HLDR FUND I NUS LP,
HLDR FUND I TE LP, HLDR FUND I UST
LP, HALCYON VALLÉE BLANCHE

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     The Debtors, and, where applicable, the last four digits of each of their respective taxpayer
     identification numbers, are as follows: Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar
     CDO 2003-1, Corp. (3724), Zohar III, Limited (9261), Zohar II 2005-1, Limited (8297), and Zohar
     CDO 2003-1, Limited (5119). The Debtors’ address is 3 Times Square, c/o FTI Consulting, Inc., New
     York, NY 10036.

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MASTER FUND LP, BARDIN HILL
EVENT- DRIVEN MASTER FUND LP,
PRAETOR FUND I, A SUB FUND OF
PRAETORIUM FUND I ICAV; HIRTLE
CALLAGHAN TOTAL RETURN
OFFSHORE FUND LIMITED; HIRTLE
CALLAGHAN TOTAL RETURN
OFFSHORE FUND II LIMITED; HIRTLE
CALLAGHAN TRADING PARTNERS, L.P.;
AND THIRD SERIES OF HDML FUND I
LLC.,

                        Defendants-Appellees.



                DEFENDANTS-APPELLEES’ DESIGNATION OF
        ADDITIONAL ITEMS TO BE INCLUDED IN THE RECORD ON APPEAL

                Defendants-Appellees, pursuant to Rule 8009(a)(2) of the Federal Rules of

Bankruptcy Procedure, hereby submit this Designation of Additional Items to Be Included in the

Record on Appeal in connection with Appellants’ Designation of Record and Statement of Issues

on Appeal Pursuant to Rule 8009(a) of the Federal Rules of Bankruptcy Procedure, filed on April

12, 2022 (D.I. 5).

      DESIGNATION OF ADDITIONAL ITEMS FOR THE RECORD ON APPEAL

 Date Filed      A.P. No.                             Document Description
                 19-50390
                  (KBO)
                Docket No.
 10/30/2020 66                Motion Of The Zohar III Controlling Class To Dismiss The
                              Complaint Under Federal Rule Of Civil Procedure 12(b)(6) Made
                              Applicable By Bankruptcy Rule 7012

 10/30/2020 67                Defendants MBIA Inc.’s and MBIA Insurance Corporation’s
                              Motion To Dismiss Equitable Subordination Complaint

 10/30/2020 68                Memorandum Of Law Of The Zohar III Controlling Class In
                              Support Of Their Motion To Dismiss The Complaint Under Federal
                              Rule Of Civil Procedure 12(b)(6) Made Applicable By Bankruptcy
                              Rule 7012


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 Date Filed      A.P. No.                           Document Description
                 19-50390
                  (KBO)
                Docket No.
 10/30/2020 71               Defendants MBIA Inc.’s and MBIA Insurance Corporation’s
                             Memorandum Of Law In Support Of Their Motion To Dismiss
                             Equitable Subordination Complaint

 03/02/2021 109              Reply Memorandum Of Law Of The Zohar III Controlling Class In
                             Further Support Of Their Motion To Dismiss The Complaint

 03/30/2021 123              Defendants MBIA Inc.’s and MBIA Insurance Corporation’s Reply
                             Memorandum Of Law In Further Support Of Their Motion To
                             Dismiss Equitable Subordination Complaint

 11/19/2021 140              Defendant U.S. Bank National Association’s Letter to the
                             Honorable Karen B. Owens regarding Supplemental Authority

 01/21/2022 165 &            Order Approving Stipulation Regarding the Motion to Dismiss
            165-1            Briefing Schedule and, attached as Exhibit 1 thereto, the Parties’
                             Stipulation

 04/13/2022 268              Transcript of proceedings held on April 13, 2022 regarding
                             Plaintiffs’ Motion for a Stay Pending Appeal of the Bankruptcy
                             Court’s Order on Defendants’ Motion to Dismiss the Amended
                             Complaint for Equitable Subordination

 10/26/2016 N/A              Memorandum Opinion in Zohar CDO 2003-1, LLC v. Patriarch
                             Partners, LLC, C.A. No. 12247- VCS, 2016 WL 6248461 (Del. Ch.
                             Oct. 26, 2016) (the “Books & Records Decision”)

 11/30/2017 N/A              Memorandum Opinion in Zohar II 2005-1, Ltd. v. FSAR Holdings,
                             Inc., C.A. No. 12946-VCS, 2017 WL 5956877 (Del. Ch. Nov. 30,
                             2017) (the “Delaware 225 Decision”)

 12/29/2017 N/A              Opinion & Order in Zohar CDO 2003-1, Ltd. v. Patriarch Partners,
                             LLC, 286 F. Supp. 3d 634 (S.D.N.Y. 2017) (the “RICO MTD
                             Decision”)

 09/29/2021 N/A              Opinion and Order in Zohar CDO 2003-1, Ltd. v. Patriarch
                             Partners, LLC, Case No. 17-cv-00307, 2021 WL 4460547
                             (S.D.N.Y. Sept. 29, 2021) (the “SDNY MTD Decision”)




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